FILED: ERIE COUNTY CLERK 01/24/2020 09:51 AM                                  INDEX NO. 811175/2019
NYSCEF DOC. NO. 12                                                      RECEIVED NYSCEF: 01/24/2020




            Case 1-20-01016-CLB,    Doc 29-1, Filed 05/19/20, Entered 05/19/20 13:48:41,
                                   Description: Exhibit
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